
The judgment of the court of appeals was rendered on the 11th of July 1833. That court held, that the law upon the special verdict was for the plaintiffs ; and, reversing with costs the judgment of the circuit court of Kanawha (which was in favour of the defendants), gave judgment that the plaintiffs are free, and that they recover from the defendants their damages assessed by the jury, together with their costs expended in the circuit court.
It appears by the record of the said suit for freedom (though not by the special verdict, or the judgment of the court of appeals) that the suit was instituted in the year 1828. And it appears by the opinions of the judges of the court of appeals (see them in the report of the case, under the name of Betty and others v. Horton, S Leigh 61S, 626,) that the decision of that court proceeded on the ground that the plaintiffs, Betty and Pleasant, had been imported into this commonwealth in 1798 in violation of the statute of 1792, 1 Old Rev. Code, ch. 103, $ 2, Pleasants’s edi. p. 186, which enacts, that “slaves which shall hereafter be brought into this commonwealth, and kept therein one whole year together, or so long at different times as shall amount to one year, shall be free.”
"With the consent of the defendant, the circuit court adjourned to the general court the following questions: “Upon the facts agreed, is the defendant at liberty to remain in the commonwealth? and should an information be awarded against her?”
The response of the general court was as follows:
“This court is unanimously of opinion, and doth decide, 1. That no information ought to be ordered to be filed in this case. 2. That it is unnecessary, and would be improper, to answer the other question adjourned, as it does not arise in the cause.”
